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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:05CR237
                                              )
              Plaintiff,                      )
                                              )                MEMORANDUM
              vs.                             )                 AND ORDER
                                              )
PATRICK SMITH,                                )
                                              )
              Defendant.                      )


       This matter is before the Court on the Report and Recommendation (Filing No. 57)

issued by Magistrate Judge F.A. Gossett recommending denial of the Defendant’s motion

to suppress (Filing No. 36).       No objections have been filed to the Report and

Recommendation as allowed by 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a).

       The Defendant seeks an order suppressing evidence seized as the result of a March

31, 2005, traffic stop. Judge Gossett determined: as a passenger in the vehicle in

question, the Defendant has standing to contest the stop, detention and search; the

detention was supported by reasonable suspicion; and the Defendant abandoned any

interest he may have had in the vehicle when he fled the scene.

       Notwithstanding the absence of objections, pursuant to 28 U.S.C. § 636(b)(1)(C)

and NECrimR 57.3, the Court has conducted a de novo review of the record. The Court

has read the parties’ briefs (Filing Nos. 38, 39, 47, 52) and the transcript (Filing No. 44).

The Court has also viewed the evidence. (Filing No. 41) Because Judge Gossett fully,

carefully, and correctly applied the law to the facts, the Court adopts the Report and

Recommendation in its entirety.
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   IT IS ORDERED:

   1.    The Magistrate Judge’s Report and Recommendation (Filing No. 57) is

         adopted in its entirety; and

   2.    The Defendant’s motion to suppress (Filing No. 36) is denied.

   DATED this 5th day of December, 2005.

                                            BY THE COURT:

                                            s/Laurie Smith Camp
                                            United States District Judge




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